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                                  UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF RHODE ISLAND

Regina L. Martinous,

        Plaintiff,

        vs.

Windham Professionals, Inc.,
Matt Doe, alias,
Jane Does #1, alias,
John Doe, alias, and
Jane Doe #2, alias,
                                                             CA 11- 111 5 -
        Defendants.




                                              Complaint

                                            Introduction

   1.         The Plaintiff, an individual consumer, brings this action alleging the Defendants
              engaged in harassing, abusive and prohibited conduct while attempting to collect a
              debt from the Plaintiff in violation of the federal Fair Debt Collection Practices Act,
              15 U.S.c. § 1692, et seq. ("FDCPA"). The Plaintiff seeks statutory damages, actual
              damages, costs and attorney fees under the FDCPA.

                                         Jurisdiction and Venue

   2.         This Court has jurisdiction to hear the FDCPA claims in this matter pursuant to 15
              U.S.C. § 1692k(d) and 28 U.S.C. § 1337(a).

   3.         Venue in this District is proper pursuant to 28 U.S.C. § 1391(b) because the Plaintiff
              is a resident of this District and the conduct complained of took place, via the
              telephone, in this District.




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                                           Parties

  4.    Plaintiff Regina 1. Martinous is an adult resident of the municipality of East
        Providence, County of Providence, State of Rhode Island.

  5.    The Defendant Windham Professionals, Inc. (Windham) is a foreign corporation,
        registered with the Rhode Island Secretary of State to do business in Rhode Island.

  6.    The Defendant Matt Doe, alias, (Matt) a male, is an employee or agent of Windham
        whose true identity is unknown to the Plaintiff but known, or knowable, to Windham.

  7.    The Defendant Jane Do.e #1, alias, (Jane #1) a female, is an employee or agent of
        Windham whose true identity is unknown to the Plaintiff but known, or knowable, to
        Windham.

  8.    The Defendant John Doe, alias, (John) a male, is an employee or agent of Windham
        whose true identity is unknown to the Plaintiff but known, or knowable, to Windham.

 9.     The Defendant Jane Doe #2, alias, (Jane #2) a female, is an employee or agent of
        Windham whose true identity is unknown to the Plaintiff but known, or knowable, to
        Windham.


                               Facts Common To All Counts

  10.   At all times relevant to this Complaint, Windham was engaged in the business of
        regularly collecting debts, originally owed to third parties, using the telephone to
        communicate with residents of Rhode Island.

  11.   At all times relevant to this Complaint, Matt was engaged in the business of regularly
        collecting debts, originally owed to third parties, using the telephone to communicate
        with residents of Rhode Island.

  12.   At all times relevant to this Complaint, Jane #1 was engaged in the business of
        regularly collecting debts, originally owed to third parties, using the telephone to
        communicate with residents of Rhode Island.

  13.   At all times relevant to this Complaint, John was engaged in the business of regularly
        collecting debts, originally owed to third parties, using the telephone to communicate
        with residents of Rhode Island.

  14.   At all times relevant to this Complaint, Jane #2 was engaged in the business of
        regularly collecting debts, originally owed to third parties, using the telephone to
        communicate with residents of Rhode Island.




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  15.   At all times relevant to this Complaint, Windham was a "Debt Collector" as defined
        by the FDCPA at 15 U.S.C. § 1692(a)(6).

  16.   At all times relevant to this Complaint, Matt was a "Debt Collector" as defmed by the
        FDCPA at 15 U.S.C. § 1692(a)(6).

  17.   At all times relevant to this Complaint, Jane #1 was a "Debt Collector" as defined by
        the FDCPA at 15 U.S.C. § 1692(a)(6).

  18.   At all times relevant to this Complaint, John was a "Debt Collector" as defined by the
        FDCPA at 15 U.S.c. § 1692(a)(6).

  19.   At all times relevant to this Complaint, Jane #2 was a "Debt Collector" as defined by
        the FDCPA at 15 U.S.C. § 1692(a)(6).

 20.    Within the past year Windham placed phone calls to, and engaged in telephone
        conversations with, the Plaintiff while acting as a Debt Collector attempting to collect
        a debt from the Plaintiff.

 21.    Within the past year Matt placed phone calls to, and engaged in telephone
        conversations with, the Plaintiff while acting as a Debt Collector attempting to collect
        a debt from the Plaintiff.

  22.   Within the past year Jane #1 placed at least one phone call to, and engaged in at least
        one telephone conversations with, the Plaintiff while acting as a Debt Collector
        attempting to collect a debt from the Plaintiff.

 23.    Within the past year John placed at least one phone call to, and engaged in at least
        one telephone conversations with, the Plaintiff while acting as a Debt Collector
        attempting to collect a debt from the Plaintiff.

 24.    Within the past year Jane #2 placed at least one phone call to, and engaged in at least
        one telephone conversations with, the Plaintiff while acting as a Debt Collector
        attempting to collect a debt from the Plaintiff.

 25.    The debt that gave rise to the telephone calls (Debt) arose from a loan the Plaintiff
        took to pay for her education.

 26.    In February 2011, Windham, acting through its agent Matt, called the Plaintiff at her
        work number and left a message for asking her to call him back about an urgent
        matter.

 27.    The message did not identify the call as being from a Debt Collector.




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  28.   The Plaintiff responded to the message and informed a female agent or employee of
        Windham that it had called her at work and instructed Windham not to call her there
        because she could not discuss the debt at work.

  29.   Within several days, Windham, acting through its agent Matt, again called the
        Plaintiff at her work number.

  30.   In the conversation that took place as a result, Matt told the Plaintiff that he had
        received the message she left telling Windham not to call her at work but that
        Windham would keep calling her there because that was the only phone number they
        had for the Plaintiff.

  31.   In February 2011, Jane #2 informed the Plaintiff that Windham had checked her
        Social Security number with her employer.

  32.   Windham did not check the Plaintiffs Social Security number with her employer.

  33.   On or about February 17, 2011, Windham, acting through its agent Matt, called a
        phone number belonging to the Plaintiffs sister-in-law, Sherri Ramella (Ramella).

  34.   Matt left a message for Ramella asking her to contact him regarding the Plaintiff.

  35.   In the message, Matt said the Plaintiff had listed Ramella as a reference.

  36.   The Plaintiff had not listed Ramella as a reference.

  37.   On or about Tuesday, March 1, 2011, Windham, acting through its agent Jane #1,
        called the Plaintiff at her job and spoke with her.

  38.   In that conversation, Jane #1 did not identify herself as a debt collector and did not
        inform the Plaintiff that any information she gave would be used to assist in
        collecting the debt.

  39.   On or about March 2, 2011, the Plaintiff retained an attorney to represent her in the
        Debt.

  40.   On March 2, 2011, Windham received a fax from the attorney stating "I represent
        Regina Martinous in the debt you are attempting to collect from her."

 41.    The fax listed the attorney's name, address, phone number, fax number and e-mail.

 42.    Between approximately March 7,2011, and March 11,2011, John called the Plaintiff
        at her work number and spoke with her.

 43.    The Plaintiff told John that she had previously told Windham not to contact her at
        work as he had just done.



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    44.   John told the Plaintiff words to the effect of 'I didn't get the memo' regarding the
          Plaintiff s inability to discuss the Debt at work.

    45.   John then attempted to discuss the Debt with the Plaintiff.

    46.   From approximately January 1, 2011, through March 7, 2011, Windham repeatedly
          called the Plaintiff at her work despite knowing she was not allowed to discuss the
          debt at work.

    47.   From approximately January 1, 2011, through March 7, 2011, Windham repeatedly
          caused the Plaintiffs work phone to ring, and repeatedly engaged the Plaintiff in
          conversations.


               Count 1 - Federal FDCPA - False or Misleading Representations

   48.    The Plaintiff reasserts the facts and allegations contained in all of the proceeding
          paragraphs and incorporates them into this Count.

   49.    The Defendants made false and/or misleading representations while attempting to
          collect the Debt from the Plaintiff.

    50.   The Defendants did the following which the Plaintiff asserts constituted making false
          and/or misleading representations:

          a. Jane #2 told the Plaintiff Windham had confirmed the Plaintiffs Social Security
             number with her employer;
          b. Matt left a message for Ramella stating the Plaintiff had listed her as a reference;
          c. Jane #1 failed to tell the Plaintiff that she was a Debt Collector and any
             information the Plaintiff gave her would be used for that purpose; and
          d. Windham failed to tell the Plaintiff that it was a Debt Collector and any
             information the Plaintiff gave her would be used for that purpose.

   51.    The conduct described in this Count violated the FDCPA, specifically 28 USC
          1692(e), (e)(10) and (e)(II).

   52.    As a result of the conduct, the Plaintiff suffered damages including mental suffering,
          embarrassment and attorney fees.

       Wherefore, the Plaintiff requests judgment against each Defendant for actual damages
pursuant to 28 USC 1692(k)(a)(l), statutory damages in the amount of $1,000 pursuant to 28
USC 1692(k)(a)(2)(A), costs and attorney fees pursuant to 28 USC 1692(k)(a)(3), and for such
other relief as the Court may deem just and appropriate.




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              Count 2 - Federal FDCPA - Prohibited Communication Practices

    53.   The Plaintiff reasserts the facts and allegations contained in all of the proceeding
          paragraphs and incorporates them into this Count.

    54.   The Defendants engaged in unfair practices while attempting to collect the Debt from
          the Plaintiff.

    55.   The Defendants did the following which the Plaintiff asserts constituted engaging in
          unfair practices:

          a. Matt, John, Jane #1 and Jane #2 continued to contact the Plaintiff at a time and in
             a manner it knew was inconvenient for her;
          b. Matt, John, Jane #1 and Jane #2 continued to contact the Plaintiff at her job after
             knowing she was not allowed to receive such calls at work; and
          c. John contacted the Plaintiff after Windham knew she was represented by an
             attorney.

    56.   The conduct described in this Count violated the FDCPA, specifically 28 USC
          1692(c)(a)(I), (2) and (3).

    57.   As a result of the conduct, the Plaintiff suffered damages including mental suffering,
          embarrassment and attorney fees.

        Wherefore, the Plaintiff requests judgment against each Defendant for actual damages
pursuant to 28 USC 1692(k)(a)(1), statutory damages in the amount of $1,000 pursuant to 28
USC 1692(k)(a)(2)(A), costs and attorney fees pursuant to 28 USC 1692(k)(a)(3), and for such
other relief as the Court may deem just and appropriate.


                      Count 3 - Federal FDCPA - Harassment or Abuse

   58.    The Plaintiff reasserts the facts and allegations contained in all of the proceeding
          paragraphs and incorporates them into this Count.

   59.    The Defendants engaged in harassing and/or abusive conduct while attempting to
          collect the Debt from th.e Plaintiff.

   60.    The Defendants did the following which the Plaintiff asserts constituted harassing
          and/or abusive conduct:

          a. Each and everyone of the Defendants, by the conduct attributed to them in this
             Complaint, engaged in conduct the natural consequence of which was to harass,
             oppress or abuse the Plaintiff;
          b. Matt, John, Jane #1 and Jane #2 caused the Plaintiff's work phone to ring, and
             engaged in conversations with the Plaintiff, repeatedly between January 1, 2001



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             and March 7,2011, despite knowing she was not allowed to receive such calls at
             work;
          c. Jane #1 failed identify herself as a Debt Collector; and
          d. Windham failed to identify itself as a Debt Collector.

   61.    The conduct described in this Count violated the FDCPA, specifically 28 USC
          1692(d), (d)(5) and (d)(6).

   62.    As a result of the conduct, the Plaintiff suffered damages including mental suffering,
          embarrassment and attorney fees.

       Wherefore, the Plaintiff requests judgment against each Defendant for actual damages
pursuant to 28 USC 1692(k)(a)(1), statutory damages in the amount of $1,000 pursuant to 28
USC 1692(k)(a)(2)(A), costs and attorney fees pursuant to 28 USC 1692(k)(a)(3), and for such
other relief as the Court may deem just and appropriate.


             Count 4 - Federal FDCPA - Improper Communication Third Party

    63.   The Plaintiff reasserts the facts and allegations contained in all of the proceeding
          paragraphs and incorporates them into this Count.

   64.    The Defendants improperly communicated with someone other than the Plaintiff or
          her spouse, also known as a third party, while attempting to collect the Debt from the
          Plaintiff.

   65.    The Defendants did the following which the Plaintiff asserts constituted improper
          communication with a third party:

          a. Matt failed to tell Ramella that he was contacting her to confirm or correct
             location information for the Plaintiff;
          b. Matt failed to properly identify himself to Ramella; and
          c. Matt contacted Ramella despite having correct location information for the
             Plaintiff.

   66.    The conduct described in this Count violated the FDCPA, specifically 28 USC
          1692(b)(1 ).

   67.    As a result of the conduct, the Plaintiff suffered damages including mental suffering,
          embarrassment and attorney fees.

       Wherefore, the Plaintiff requests judgment against each Defendant for actual damages
pursuant to 28 USC 1692(k)(a)(1), statutory damages in the amount of $1,000 pursuant to 28
USC 1692(k)(a)(2)(A), costs and attorney fees pursuant to 28 USC 1692(k)(a)(3), and for such
other relief as the Court may deem just and appropriate.




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                                              The Plaintiff,
                                              By Counsel,




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                                   Jury Demand

            The Plaintiff demands a trial by jury on each and every count.



                                              John   T~q.l#4928                 My File #: FD 3287




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